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                             UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                    BEAUMONT DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
V.                                               §        CASE NO. 1:13-CR-117(1)
                                                 §
JIANJUN MA                                       §
a/k/a “Paul”


          FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
               BEFORE THE UNITED STATES MAGISTRATE JUDGE

       By order of the District Court, this matter is referred to the undersigned United States

Magistrate Judge for administration of the guilty plea under Rule 11. Magistrate judges have the

statutory authority to conduct a felony guilty plea proceeding as an “additional duty” pursuant to 28

U.S.C. § 636(b)(3). United States v. Bolivar-Munoz, 313 F.3d 253, 255 (5th Cir. 2002).

       On May 13, 2014, this case came before the undersigned magistrate judge for entry of a guilty

plea by the Defendant, Jianjun Ma, to Count One of the Indictment. Count One alleges that Jianjun

Ma, a/k/a “Paul,” and others known and unknown to the Grand Jury, were members and associates

of an enterprise referred to as the Tai Shan Enterprise, an organization engaged in, among other

things, recruiting and placing unauthorized aliens to work in restaurants throughout the state of

Texas, and elsewhere, for a fee. This organization also transported the unauthorized aliens to the

restaurants where they would work and be housed by the restaurant owners/operators during their

employ. At times, the organization also housed the unauthorized aliens pending their transport to

the restaurants to work.

       Count One further alleges that from in or about 2010, the exact date remaining unknown,



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until November 7, 2013, in the Eastern District of Texas and elsewhere, Jianjun Ma, a/k/a “Paul,”

and his co-defendants, together with other persons known and unknown to the Grand Jury, being

persons employed by and associated with the Tai Shan Enterprise, an enterprise which engaged in,

and the activities of which affected, interstate commerce, knowingly and intentionally conspired to

violate 18 U.S.C. § 1962(c), that is to conduct and participate, directly and indirectly, in the conduct

of the affairs of the Tai Shan Enterprise through a pattern of racketeering activity, as that term is

defined in 18 U.S.C. § 1961(1) and 1961(5), consisting of multiple acts indictable under Title 8

U.S.C. § 1324 (relating to bringing and harboring certain aliens for the purpose of financial gain).

The Indictment lists multiple overt acts carried out by Ma in furtherance of the conspiracy, all in

violation of 18 U.S.C. § 1962(d).

        The Defendant entered a plea of guilty to Count One of the Indictment into the record at the

hearing. After conducting the proceeding in the form and manner prescribed by Federal Rule of

Criminal Procedure 11, the undersigned finds:

        a.      That the Defendant, after consultation with his attorney, has knowingly, freely and

voluntarily consented to the administration of the guilty plea in this case by a United States

Magistrate Judge in the Eastern District of Texas subject to a final approval and imposition of

sentence by the District Court.

        b.      That Defendant and the Government have entered into a plea agreement which was

disclosed and addressed in open court, entered into the record, and placed under seal. The Defendant

verified that he understood the terms of the plea agreement, agreed to the Government’s summary

of the plea agreement, and acknowledged that it was his signature on the plea agreement. To the

extent the plea agreement contains recommendations and requests pursuant to FED. R. CRIM. P. 11

(c)(1)(B), the court advised the Defendant that he has no right to withdraw the plea if the court does


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not follow the particular recommendations or requests. To the extent that any or all of the terms of

the plea agreement are pursuant to Rule 11(c)(1)(A) or (C), the undersigned advised the Defendant

that he will have the opportunity to withdraw his plea of guilty should the court not follow those

particular terms of the plea agreement.1

         c.        That the Defendant is fully competent and capable of entering an informed plea, that

the Defendant is aware of the nature of the charges and the consequences of the plea, and that the

plea of guilty is made freely, knowingly, and voluntarily. Upon addressing the Defendant personally

in open court, the undersigned determines that the Defendant’s plea is knowing and voluntary and

did not result from force, threats or promises (other than the promises set forth in the plea

agreement). See FED. R. CRIM. P. 11(b)(2).

         d.        That the Defendant’s knowing and voluntary plea is supported by an independent

factual basis establishing each of the essential elements of the offense and the Defendant realizes that

his conduct falls within the definition of the crime charged under Title 18 U.S.C. § 1962(d), RICO

conspiracy.

                                          STATEMENT OF REASONS

         As factual support for the Defendant’s guilty plea, the Government presented a factual basis.

See Factual Basis and Stipulation. In support, the Government would prove that the Defendant is


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 “(3) Judicial Consideration of a Plea Agreement.
(A) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the court may accept the
agreement, reject it, or defer a decision until the court has reviewed the presentence report.
(B) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(B), the court must advise the defendant
that the defendant has no right to withdraw the plea if the court does not follow the recommendation or request.
(4) Accepting a Plea Agreement. If the court accepts the plea agreement, it must inform the defendant that to the extent
the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the agreed disposition will be included in the judgment.
(5) Rejecting a Plea Agreement. If the court rejects a plea agreement containing provisions of the type specified in Rule
11(c)(1)(A) or (C), the court must do the following on the record and in open court (or, for good cause, in camera):
(A) inform the parties that the court rejects the plea agreement;
(B) advise the defendant personally that the court is not required to follow the plea agreement and give the defendant
an opportunity to withdraw the plea; and
(C) advise the defendant personally that if the plea is not withdrawn, the court may dispose of the case less favorably
toward the defendant than the plea agreement contemplated.” FED. R. CRIM. P. 11(c)(3)-(5).

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the same person charged in the Indictment and that the events described in the Indictment occurred

in the Eastern District of Texas and elsewhere. The Government would also have proven, beyond

a reasonable doubt, each and every essential element of the offense as alleged in Count One of the

Indictment through the testimony of witnesses, including expert witnesses, and admissible exhibits.

In support of the Defendant’s plea, the undersigned incorporates the proffer of evidence described

in detail in the factual basis and stipulation, and the Defendant’s admissions made in open court in

response to the undersigned’s further inquiry into the factual basis and stipulation.

       The Defendant agreed with and stipulated to the evidence presented in the factual basis.

Counsel for the Defendant and the Government attested to the Defendant’s competency and

capability to enter an informed plea of guilty. The Defendant agreed with the evidence presented

by the Government and personally testified that he was entering his guilty plea knowingly, freely and

voluntarily.

                               RECOMMENDED DISPOSITION

       IT IS THEREFORE the recommendation of the undersigned United States Magistrate

Judge that the District Court accept the Guilty Plea of the Defendant, which the undersigned

determines to be supported by an independent factual basis establishing each of the essential

elements of the offense charged in Count One of the Indictment. Accordingly, it is further

recommended that the District Court finally adjudge the Defendant, Jianjun Ma, guilty of the charged

offense under Title 18, United States Code, Section 1962(d).

       The Defendant is ordered to report to the United States Probation Department for the

preparation of a presentence report. The Defendant has the right to allocute before the District Court

before imposition of sentence.




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                                          OBJECTIONS

       Pursuant to 28 U.S.C. § 636(b)(1)(c), each party to this action has the right to file objections

to this report and recommendation. Objections to this report must: (1) be in writing, (2) specifically

identify those findings or recommendations to which the party objects, and (3) be served and filed

within fourteen (14) days after being served with a copy of this report. See 28 U.S.C. § 636(b)(1)(c)

(2011); FED. R. CIV. P. 72(b)(2). A party who objects to this report is entitled to a de novo

determination by the United States District Judge of those proposed findings and recommendations

to which a specific objection is timely made. See 28 U.S.C. § 636(b)(1); FED R. CIV. P. 72(b)(3).

       A party’s failure to file specific, written objections to the proposed findings of fact and

conclusions of law contained in this report, within fourteen (14) days of being served with a copy

of this report, bars that party from: (1) entitlement to de novo review by the United States District

Judge of the findings of fact and conclusions of law, see Rodriguez v. Bowen, 857 F.2d 275, 276–77

(5th Cir. 1988), and (2) appellate review, except on grounds of plain error, of any such findings of

fact and conclusions of law accepted by the United States District Judge, see Douglass v. United

Servs. Auto. Ass’n, 79 F.3d 1415, at 1428–29 (5th Cir. 1996) (en banc).



       SIGNED this 16th day of May, 2014.




                                                       _________________________
                                                       Zack Hawthorn
                                                       United States Magistrate Judge




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